     Case 2:10-cr-00356-LDG-VCF           Document 414        Filed 11/30/12     Page 1 of 1




1
2
3
4
                                 UNITED STATES DISTRICT COURT
5
                                         DISTRICT OF NEVADA
6
7     UNITED STATES OF AMERICA,
8             Plaintiff,                                      2:10-cr-0356-LDG-LRL
9     v.                                                      ORDER
10    JEANNIE SUTHERLAND, et al,
11            Defendants.
12
13          THE COURT HEREBY ORDERS that Jeannie Sutherland be temporarily released from
14   custody and that she shall self-surrender at the United States Marshal’s Office on January 2, 2013,
15   at 2:00 p.m. for completion of her sentence.
16
17          DATED this _____ day of November, 2012.
18
19                                                        ______________________________
                                                          Lloyd D. George
20                                                        United States District Judge
21
22
23
24
25
26
